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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  WESTERN                          TEXAS
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           WC Manhattan Place Property, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                 4 ___7 – ___
                                              ___         1 ___
                                                             5 ___
                                                                2 ___
                                                                   9 ___
                                                                      3 ___
                                                                         7 ___
                                                                            3
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               814 Lavaca Street
                                              ______________________________________________             _______________________________________________
                                              Number       Street                                        Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               Austin                      TX       78010
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               TRAVIS
                                              ______________________________________________
                                              County                                                      1717 Manhattan Blvd
                                                                                                         _______________________________________________
                                                                                                         Number       Street

                                                                                                         _______________________________________________

                                                                                                          Harvey                      Louisiana 70058
                                                                                                         _______________________________________________
                                                                                                         City                      State       ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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              WC Manhattan Place Property, LLC
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                          X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          X Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___   3   1
                                                      ___  1
                                                           ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          X Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor           WC Manhattan Place Property, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        X No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                          X Yes.
                                                           See Attached
                                                    Debtor _____________________________________________ Relationship _________________________
       business partner or an
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        X No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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               WC Manhattan Place Property, LLC
Debtor        _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   X Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         X 1-49
                                                                             1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        X $1,000,001-$10 million
                                                                                                                         $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  x
                                                                              $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        X $1,000,001-$10 million
                                                                                                                         $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  x $10,000,001-$50 million
                                                                                                                         $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                               01/25/2022
                                         Executed on ____________________
                                                        MM / DD / YYYY


                                            _____________________________________________
                                                                                                           Natin Paul
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Authorized Signatory
                                             Title _________________________________________




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Debtor         WC Manhattan Place Property, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                              /s/ Ron Satija
                                            _____________________________________________            Date        01/25/2022
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                              Ron Satija
                                           _________________________________________________________________________________________________
                                           Printed name
                                              Hayward PLLC
                                           _________________________________________________________________________________________________
                                           Firm name
                                             901 Mopac Expressway South
                                           _________________________________________________________________________________________________
                                           Number     Street
                                                Austin
                                           ____________________________________________________                  TX
                                                                                                           ____________  78746
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                             (737) 881-7104
                                           ____________________________________                               rsatija@haywardfirm.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                             24039158                                          Texas
                                           ______________________________________________________ ____________
                                           Bar number                                             State




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                                       AFFILIATED CASES
          1.      In re WC 2101 W. Ben White LP, Case No. 20-10182-tmd (Bankr. W.D. Tex);
          2.      WC 8120 Research LP (Case No. 20-11106-tmd) (Bankr. W.D. Tex);;
          3.      WC South Congress Square LLC (Case No. 20-11107-tmd) (Bankr. W.D. Tex);;
          4.      WC Thousand Oaks Center, LP (Case No. 21-10251-tmd) (Bankr. W.D. Tex);;
          5.      WC 3rd and Trinity, LP (Case No. 21-10252-tmd) (Bankr. W.D. Tex);;
          6.      WC 6th and Rio Grande, LP (Case No. 21-10359-tmd) (Bankr. W.D. Tex);;
          7.      WC Culebra Crossing SA, LP (Case No. 21-10360-tmd) (Bankr. W.D. Tex);;
          8.      Arboretum Crossing, LLC (Case No. 21-10546-tmd) (Bankr. W.D. Tex);;
          9.      WC 717 N. Harwood Property, LLC (Case No. 21-10630-tmd) (Bankr. W.D. Tex);;
          10.     WC Met Center, LLC, (Case No. 21-10698-tmd) (Bankr. W.D. Tex);;
          11.     6th and San Jacinto, LLC (Case No. 21-10942) (Bankr. W.D. Tex);;
          12.     WC 511 Barton Blvd, LLC (Case No. 21-10943) (Bankr. W.D. Tex);; and
          13.     GVS Texas Holdings I, LLC et al ( Case No. 21-31121-MVL) (Bankr. N.D. Tex)




  AFFILIATE CASE LIST:5662049_1
